Case 2:22-cv-08851-AB-PVC Document 50 Filed 01/09/23 Page 1 of 9 Page ID #:1614




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                                                1                Case No. 2:22-08551 AB (PVCx)
             STIPULATION TO SET BRIEFING DEADLINES AND CONTINUE HEARING DATES FOR
               DEFENDANTS’ MOTIONS TO DISMISS AND PLAINTIFF’S MOTION TO REMAND
Case 2:22-cv-08851-AB-PVC Document 50 Filed 01/09/23 Page 2 of 9 Page ID #:1615




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     San Diego, CA 92101
  10 Telephone: (619) 573-4488
  11 Attorneys for Plaintiff Robert Joseph Armijo
  12
  13                        UNITED STATES DISTRICT COURT
  14        CENTRAL DISTRICT OF CALIFORNIA, WESTERN DIVISION
  15
  16 ROBERT JOSEPH ARMIJO,                        Case No. 2:22-cv-08851 AB (PVCx)
  17               Plaintiff,
                                                  STIPULATION TO SET BRIEFING
  18        v.                                    DEADLINES AND CONTINUE
                                                  HEARING DATES FOR
  19 PAUL R. WASSGREN, DLA PIPER                  DEFENDANTS’ MOTIONS TO
     LLP (US), FOX ROTHSCHILD LLP,                DISMISS AND PLAINTIFF’S
  20 and DOES 1 through 10, inclusive,            MOTION TO REMAND
  21               Defendants.
                                                  Judge:             Hon. André Birotte Jr.
  22                                              Hearing Date:      February 3, 2023
                                                  Hearing Time:      10:00 a.m.
  23                                              Place:             Courtroom 7B
  24
  25        Plaintiff Robert Joseph Armijo (“Plaintiff”) and defendants Paul R. Wassgren,
  26 DLA Piper LLP (US), and Fox Rothschild LLP (collectively “Defendants”) (Plaintiff
  27 and Defendants collectively referred to herein as the “Parties”), by and through their
  28 counsel of record, hereby Stipulate and Agree as follows:
                                              2                  Case No. 2:22-08551 AB (PVCx)
             STIPULATION TO SET BRIEFING DEADLINES AND CONTINUE HEARING DATES FOR
               DEFENDANTS’ MOTIONS TO DISMISS AND PLAINTIFF’S MOTION TO REMAND
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   1         1.     Defendant DLA Piper LLP (US) filed its Motion to Dismiss on
   2 December 29, 2022, (Doc. No. 38) which was noticed for hearing on February 3,
   3 2023, at 10:00 a.m.
   4         2.     Defendant Fox Rothschild LLP filed its Motion to Dismiss on January
   5 4, 2023, (Doc No. 40) which was noticed for hearing on February 3, 2023, at 10:00
   6 a.m.
   7         3.     Defendant Paul R. Wassgren filed his Notice of Joinder to the Motions
   8 to Dismiss filed by DLA Piper LLP (US) and Fox Rothschild LLP on January 4, 2023,
   9 (Doc. No. 41) which was noticed for hearing on February 3, 2023.
  10         4.     Plaintiff filed his Motion to Remand on January 5, 2023, (Doc. No. 43)
  11 which was noticed for hearing on February 3, 2023, at 10:00 a.m.
  12         5.     The Parties met and conferred concerning the hearing date for the
  13 Motions to Dismiss and the Motion to Remand as well as the resulting deadlines for
  14 the opposition and reply briefing and came to an agreement to continue the hearing
  15 date on Defendants’ Motions to Dismiss and Plaintiff’s Motion to Remand to allow
  16 more time for the briefing.
  17         NOW THEREFORE, the Parties hereby Stipulate and Agree: (a) to continue
  18 the hearings on Defendants’ Motions to Dismiss (Doc. Nos. 38, 40, and 41) and
  19 Plaintiff’s Motion to Remand (Doc. No. 43) from February 3, 2023, to February 17,
  20 2023, at 10:00 a.m.; (b) Plaintiff’s opposing papers to Defendants’ Motions to Dismiss
  21 are due to be filed with the Court on January 20, 2023; (c) Defendants’ reply papers
  22 to Defendants’ Motions to Dismiss are due to be filed with the Court on February 3,
  23 2023; (d) Defendants’ opposing papers to Plaintiff’s Motion to Remand are due to be
  24 filed with the Court on January 20, 2023; and (e) Plaintiff’s reply papers to Plaintiff’s
  25 Motion to Remand are due to be filed with the Court on February 3, 2023.
  26         Plaintiff does not, by way of this Stipulation, agree that Defendants’ pending
  27 Motion to Transfer (Doc. No. 34) should be determined prior to Plaintiff’s Motion to
  28 Remand. As Plaintiff has stated in support of his Motion to Remand and in opposition
                                               3                  Case No. 2:22-08551 AB (PVCx)
              STIPULATION TO SET BRIEFING DEADLINES AND CONTINUE HEARING DATES FOR
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   1 to Defendants’ Motion to Transfer, Plaintiff asserts that the Motion to Remand should
   2 be decided prior to any other motions in this matter. (Doc. No. 43-1, at pp. 5, 22-23;
   3 Doc. No. 47, at pp. 1, 8.) Conversely, as explained in Defendants’ Motion to Transfer,
   4 Defendants assert that this Court can and should rule on the Motion to Transfer before
   5 addressing any issues related to removal or remand. (Doc. No. 34-1, at 1:7-3:2.)
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                                                4                Case No. 2:22-08551 AB (PVCx)
             STIPULATION TO SET BRIEFING DEADLINES AND CONTINUE HEARING DATES FOR
               DEFENDANTS’ MOTIONS TO DISMISS AND PLAINTIFF’S MOTION TO REMAND
Case 2:22-cv-08851-AB-PVC Document 50 Filed 01/09/23 Page 5 of 9 Page ID #:1618




   1 Dated: January 9, 2023                      WILLIAMS & CONNOLLY LLP
   2
                                                 By:      /s/Vidya Mirmira
   3                                                    John K. Villa
   4                                                    Vidya A. Mirmira
                                                        Joseph Bayerl
   5                                                Attorneys for Defendant DLA Piper LLP
                                                    (US)
   6
   7 Dated: January 9, 2023                      KLINEDINST PC
   8
                                                 By:   /s/Daniel S. Agle
   9                                                  Heather L. Rosing
  10                                                  Daniel S. Agle
                                                      Amara S. Barbara
  11                                             Attorneys for Defendant DLA Piper LLP
  12                                             (US)
  13 Dated: January 9, 2023                      SWANSON & MCNAMARA, LLP
  14
                                                 By:    /s/Britt Evangelist
  15                                                  Edward W. Swanson
  16                                                  Britt Evangelist
                                                 Attorneys for Defendant Paul R.
  17                                             Wassgren
  18
  19 Dated: January 9, 2023                      GUNSTER, YOAKLEY, & STEWART,
  20                                             P.A.
  21
                                                 By:   /s/William Schifino
  22                                                  William Schifino
                                                 Attorneys for Defendant Fox Rothschild
  23
                                                 LLP
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                                                5                Case No. 2:22-08551 AB (PVCx)
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Case 2:22-cv-08851-AB-PVC Document 50 Filed 01/09/23 Page 6 of 9 Page ID #:1619




   1 Dated: January 9, 2023                      JENNER & BLOCK, LLP
   2
                                                 By:   /s/Effiong Dampha
   3                                                  Michael P. McNamara
   4                                                  Effiong Dampha
                                                 Attorneys for Defendant Fox Rothschild
   5                                             LLP
   6
   7 Dated: January 9, 2023                      DUNN DESANTIS WALT &
   8                                             KENDRICK, LLP

   9                                             By:    /s/James A. McFaul
  10                                                  Kevin V. DeSantis
                                                      James A. McFaul
  11                                                  David D. Cardone
  12                                                  Adam J. Yarbrough
                                                 Attorneys for Plaintiff Robert Joseph
  13                                             Armijo
  14
  15 Dated: January 9, 2023                      STANFORD AND ASSOCIATES
  16
                                                 By:   /s/Dan L. Stanford
  17                                                  Dan L. Stanford
  18                                             Attorney for Plaintiff Robert Joseph
                                                 Armijo
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                                                6                Case No. 2:22-08551 AB (PVCx)
             STIPULATION TO SET BRIEFING DEADLINES AND CONTINUE HEARING DATES FOR
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   1                               SIGNATURE ATTESTATION
   2            Pursuant to Local Rule 5-4.3.4(a)(2), I hereby attest that all signatories listed

   3 above, and on whose behalf this filing is submitted, concur in the filing’s content
   4 and have authorized the filing.
   5
   6 Dated: January 9, 2023                            KLINEDINST PC
   7
                                                       By:   /s/Daniel S. Agle
   8                                                        Heather L. Rosing
   9                                                        Daniel S. Agle
                                                            Amara S. Barbara
  10                                                    Attorneys for Defendant DLA Piper
                                                        LLP (US)
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                    STIPULATION TO SET BRIEFING DEADLINES AND CONTINUE HEARING DATES FOR
                      DEFENDANTS’ MOTIONS TO DISMISS AND PLAINTIFF’S MOTION TO REMAND
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   1                            CERTIFICATE OF SERVICE
   2                   Robert Armijo v. Paul R. Wassgren, et al.
               USDC – Central District, Case No. 2:20-cv-8851-JFW MRWx
   3
       STATE OF CALIFORNIA, COUNTY OF SAN DIEGO
   4
            At the time of service, I was over 18 years of age and not a party to this
   5 action. I am employed in the County of San Diego, State of California. My
     business address is 501 West Broadway, Suite 600, San Diego, California 92101.
   6
            On January 9, 2023, I served true copies of the following document(s)
   7 described as STIPULATION TO SET BRIEFING DEADLINES AND
     CONTINUE HEARING DATES FOR DEFENDANTS’ MOTIONS TO
   8 DISMISS AND PLAINTIFF’S MOTION TO REMAND on the interested parties
     in this action as follows:
   9
                              SEE ATTACHED SERVICE LIST
  10
            BY CM/ECF NOTICE OF ELECTRONIC FILING: I electronically filed
  11 the document(s) with the Clerk of the Court by using the CM/ECF system.
     Participants in the case who are registered CM/ECF users will be served by the
  12 CM/ECF system. Participants in the case who are not registered CM/ECF users will
     be served by mail or by other means permitted by the court rules.
  13
            I declare under penalty of perjury under the laws of the United States of
  14 America that the foregoing is true and correct and that I am employed in the office
     of a member of the bar of this Court at whose direction the service was made.
  15
            Executed on January 9, 2023, at San Diego, California.
  16
  17
                                                       /s/Maria Suarez-Lopez
  18                                             Maria E. Suarez-Lopez
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                                                1                Case No. 2:22-08551 AB (PVCx)
             STIPULATION TO SET BRIEFING DEADLINES AND CONTINUE HEARING DATES FOR
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   1                                SERVICE LIST
                       Robert Armijo v. Paul R. Wassgren, et al.
   2           USDC – Central District, Case No. 2:20-cv-8851-JFW MRWx
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                                                2                Case No. 2:22-08551 AB (PVCx)
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